                                                                                                    (1 of 29)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
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                                                 Filed: August 07, 2019

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Mr. Mark G. Kafantaris
625 City Park Avenue
Columbus, OH 43206

                     Re: Case No. 19-3196, William Schmitt, et al v. Frank LaRose
                         Originating Case No. : 2:18-cv-00966

Dear Counsel,

   The court today announced its decision in the above-styled case.

    Enclosed is a copy of the court's opinion together with the judgment which has been entered
in conformity with Rule 36, Federal Rules of Appellate Procedure.

                                                 Yours very truly,

                                                 Deborah S. Hunt, Clerk



                                                 Cathryn Lovely
                                                 Deputy Clerk
                           (2 of 29)



cc: Mr. Richard W. Nagel

Enclosures

Mandate to issue.
                                                                                                   (3 of 29)



                          RECOMMENDED FOR FULL-TEXT PUBLICATION
                              Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                     File Name: 19a0189p.06

                   UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT



 WILLIAM T. SCHMITT; CHAD THOMPSON; DEBBIE              ┐
 BLEWITT,                                               │
                          Plaintiffs-Appellees,         │
                                                         >      No. 19-3196
                                                        │
        v.                                              │
                                                        │
                                                        │
 FRANK LAROSE, Ohio Secretary of State,                 │
                               Defendant-Appellant.     │
                                                        ┘

                         Appeal from the United States District Court
                        for the Southern District of Ohio at Columbus.
               No. 2:18-cv-00966—Edmund A. Sargus, Jr., Chief District Judge.

                                    Argued: June 26, 2019

                              Decided and Filed: August 7, 2019

                     Before: CLAY, WHITE, and BUSH, Circuit Judges.
                                  _________________

                                          COUNSEL

ARGUED: Benjamin M. Flowers, OFFICE OF THE OHIO ATTORNEY GENERAL,
Columbus, Ohio, for Appellant. Mark R. Brown, CAPITAL UNIVERSITY LAW SCHOOL,
Columbus, Ohio, for Appellees. ON BRIEF: Benjamin M. Flowers, Michael J. Hendershot,
Stephen P. Carney, OFFICE OF THE OHIO ATTORNEY GENERAL, Columbus, Ohio, for
Appellant. Mark R. Brown, CAPITAL UNIVERSITY LAW SCHOOL, Columbus, Ohio, Mark
G. Kafantaris, Columbus, Ohio, for Appellees.

        WHITE, J., delivered the opinion of the court in which CLAY, J., joined, and BUSH, J.,
joined in part. BUSH, J. (pp. 15–26), delivered a separate opinion concurring in part and in the
judgment.
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 No. 19-3196                         Schmitt, et al. v. LaRose                             Page 2


                                       _________________

                                            OPINION
                                       _________________

       HELENE N. WHITE, Circuit Judge. Plaintiffs William T. Schmitt and Chad Thompson
submitted proposed ballot initiatives to the Portage County Board of Elections that would
effectively decriminalize marijuana possession in the Ohio villages of Garrettsville and
Windham. The Board declined to certify the proposed initiatives after concluding that the
initiatives fell outside the scope of the municipalities’ legislative authority. Plaintiffs then
brought this action asserting that the statutes governing Ohio’s municipal ballot-initiative process
impose a prior restraint on their political speech, violating their rights under the First and
Fourteenth Amendments. The district court issued a permanent injunction against the Portage
County Board of Elections and Defendant Frank LaRose, in his official capacity as the Secretary
of State of Ohio, prohibiting the enforcement of the statutes in any manner that failed to provide
adequate judicial review. Defendant LaRose now appeals.

       Because the Ohio statutes at issue do not violate Plaintiffs’ First or Fourteenth
Amendment rights, we REVERSE the district court’s order and VACATE the permanent
injunction.

                                                 I.

       The Ohio Constitution reserves the power of legislation by initiative “to the people of
each municipality on all questions which such municipalities may now or hereafter be authorized
by law to control by legislative action.” Ohio Const. art. II, § 1f. “Because citizens of a
municipality cannot exercise [initiative] powers greater than what the [Ohio] Constitution
affords,” an initiative may only propose “legislative action,” as opposed to “administrative
action.” State ex rel. Ebersole v. Del. Cty. Bd. of Elections, 20 N.E.3d 678, 684 (Ohio 2014) (per
curiam). “The test for determining whether an action is legislative or administrative is whether
the action taken is one enacting a law, ordinance, or regulation, or executing a law, ordinance or
regulation already in existence.” Id. (citation and internal quotation marks omitted).
                                                                                                          (5 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                               Page 3


       Under Ohio law, “[e]lection officials serve as gatekeepers, to ensure that only those
measures that actually constitute initiatives or referenda are placed on the ballot.” State ex rel.
Walker v. Husted, 43 N.E.3d 419, 423 (Ohio 2015) (per curiam). Specifically, Ohio Revised
Code (O.R.C.) § 3501.11(K) requires county boards of elections to “[r]eview, examine, and
certify the sufficiency and validity of petitions,” and to “[e]xamine each initiative petition . . . to
determine whether the petition falls within the scope of authority to enact via initiative and
whether the petition satisfies the statutory prerequisites to place the issue on the ballot as
described [by Ohio law].” O.R.C. § 3501.38(M)(1) further provides that, “[u]pon receiving an
initiative petition,” the relevant board of elections “shall examine the petition to determine”:

       Whether the petition falls within the scope of a municipal political subdivision’s
       authority to enact via initiative, including, if applicable, the limitations placed by
       Sections 3 and 7 of Article XVIII of the Ohio Constitution on the authority of
       municipal corporations to adopt local police, sanitary, and other similar
       regulations as are not in conflict with general laws, and whether the petition
       satisfies the statutory prerequisites to place the issue on the ballot. The petition
       shall be invalid if any portion of the petition is not within the initiative power[.]

Id. § 3501.38(M)(1)(a). If a petition “falls outside the scope of authority to enact via initiative or
does not satisfy the statutory prerequisites to place the issue on the ballot,” neither the board of
elections nor the Ohio Secretary of State may accept the initiative. Id. § 3501.39(A)(3). The
ballot-initiative statutes do not set forth the legislative-administrative distinction. However, the
Ohio Supreme Court has explained that, “[b]ecause [an initiative] on an administrative matter is
a legal nullity, boards of elections have not only the discretion but an affirmative duty to keep
such items off the ballot.” Walker, 43 N.E.3d at 423 (citation omitted). “It necessarily follows
that the boards have discretion to determine which actions are administrative and which are
legislative.” Id.

       When a board of elections declines to place an initiative on the ballot on the basis that it
proposes an administrative action, the proponent has no statutory right to immediate judicial
review. Instead, the proponent must seek a writ of mandamus in Ohio state court requiring the
board of elections to put the initiative on the ballot. To show entitlement to mandamus relief, the
petitioner must prove by clear and convincing evidence: “(1) a clear legal right to the requested
relief, (2) a clear legal duty on the part of the board members to provide it, and (3) the lack of an
                                                                                                        (6 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                               Page 4


adequate remedy in the ordinary course of the law.”            State ex rel. Bolzenius v. Preisse,
119 N.E.3d 358, 360 (Ohio 2018) (per curiam) (citation omitted). In reviewing a decision by a
board of elections, an Ohio court may only issue the writ if the board members “engaged in fraud
or corruption, abused their discretion, or acted in clear disregard of applicable legal provisions.”
Id. Typically, the “proximity of the [next] election” satisfies the requirement that there be no
adequate remedy in the ordinary course of the law. See, e.g., State ex rel. Harris v. Rubino,
119 N.E.3d 1238, 1246 (Ohio 2018); Ebersole, 20 N.E. at 491.

       In early 2018, Plaintiffs William Schmitt and Chad Thompson submitted two proposed
ballot initiatives to the Portage County Board of Elections (the Board).              The initiatives
eliminated criminal penalties associated with possession of marijuana in Garrettsville and
Windham, two villages within Portage County, by abolishing criminal fines, court costs, and
consequences related to driver’s licenses. Although the proposed initiatives met Ohio’s statutory
prerequisites—each addressed only a single subject and contained the requisite number of
signatures—the Board declined to certify the petitions. In an August 21, 2018 email to Plaintiffs,
a representative of the Board explained that the initiatives were rejected because the Board
deemed them administrative, rather than legislative:

       Reviewing the language in the proposals presented by the Village of Garrettsville
       and the Village of Windham, the $0 fine and no license consequences are
       administrative in nature. The $0 court costs is administrative in nature and is an
       impingement on the judicial function by a legislature. Accordingly, as the
       Garrettsville Village and Windham Village petitions deal with subject matter that
       is not subject to the initiative process, the Board of Elections, in its discretion, has
       chosen not to certify these issues to the ballot.

(R. 1-4, PID 35.)

       Rather than petitioning for mandamus relief, Plaintiffs filed this action, bringing facial
and as-applied challenges to the Ohio ballot-initiative statutes under 42 U.S.C. § 1983 and the
First and Fourteenth Amendments to the United States Constitution. Plaintiffs allege that the
statutes impose a prior restraint on their protected political speech, and that the ballot-initiative
process must therefore comply with the procedural safeguards set forth in Freedman v.
Maryland, 380 U.S. 51 (1965). Because the process fails to provide de novo judicial review of a
board’s decision, Plaintiffs argued, it fails to satisfy the Freedman requirements. Plaintiffs
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 No. 19-3196                                  Schmitt, et al. v. LaRose                                         Page 5


sought a temporary restraining order and preliminary injunction against the Portage County
Board of Elections members Craig Stephens, Patricia Nelson, Doria Daniels, and Elayne Cross,
as well as then-Ohio Secretary of State Jon Husted.

         After a hearing, the district court issued a temporary restraining order directing the Ohio
Secretary of State and the Portage County Board of Elections to place both initiatives on the
ballot for the November 2018 election. Schmitt v. Husted, 341 F. Supp. 3d 784 (S.D. Ohio
2018). Applying the balancing test set forth in Anderson v. Celebrezze, 460 U.S. 780 (1983), and
Burdick v. Takushi, 504 U.S. 428 (1992), the district court determined that the Plaintiffs’ right to
ballot access was impermissibly burdened by the statutory framework:

         Recognizing [the state’s interest in regulating elections], the Court finds no
         legitimate state interests in preventing an adequate legal remedy for petitioners
         denied ballot access by a board of elections. While the availability of mandamus
         relief is essentially a judicially imposed remedy when the law does not otherwise
         provide one, the high burden on petitioners to prove entitlement to an
         extraordinary remedy is no substitute for de novo review of the denial of a First
         Amendment right.1

Schmitt, 341 F. Supp. 3d at 791. The district court later converted the temporary restraining
order to a preliminary injunction that would expire the day after the election. On election day,
the two proposed ordinances met different fates; the Windham initiative passed by a vote of 237
to 206, but the Garrettsville initiative failed 471 to 515.

         After the election, the district court ordered additional briefing on Plaintiffs’ facial
challenge.2 Plaintiffs maintained that the ballot-initiative statutes constituted a prior restraint in
violation of the First Amendment “because [they] vest[] discretion in local election officials to
select initiatives for ballots without providing timely and meaningful judicial review.” (R. 32,
PID 240.) Plaintiffs alternatively argued that the statutes authorized content-based review by


         1The district court did not identify the source of the asserted right to de novo judicial review.

         2We note that Plaintiffs’ as-applied challenge is moot.     Under Article III, we “may adjudicate only actual,
ongoing cases or controversies.” Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477 (1990) (citation omitted). The
district court enjoined the Secretary of State to place the Plaintiffs’ initiatives on the Portage County ballots, and the
election was conducted in November 2018. The State made clear at oral argument that it does not seek to relitigate
the district court’s decision on the as-applied challenge. Accordingly, we will not consider it here, and review the
district court’s permanent injunction only as to the facial challenge.
                                                                                                        (8 of 29)


 No. 19-3196                           Schmitt, et al. v. LaRose                               Page 6


local boards of elections and were therefore subject to strict scrutiny. Ohio, on the other hand,
argued that the ballot-initiative statutes were not susceptible to a First Amendment challenge
because they merely set forth the process by which legislation is made, and therefore did not
implicate any expressive interests.      Ohio also argued that even if the First Amendment is
implicated, the state’s interests in regulating elections, reducing voter confusion, and simplifying
the ballot all justify the alleged infringement on Plaintiffs’ constitutionally protected interests.

       The district court found that Plaintiffs were entitled to de novo review of the denial of
their ballot initiative, and issued a permanent injunction barring the Ohio Secretary of State
“from enforcing the gatekeeper function in any manner that fails to provide a constitutionally
sufficient review process to a party aggrieved by the rejection of an initiative petition.” Schmitt
v. LaRose, 2019 WL 1599040, at *2 (S.D. Ohio Apr. 15, 2019). Notably, the district court did
not analyze Plaintiffs’ claim under the First Amendment, but rather under procedural due
process. This approach had no basis in the pleadings or arguments below; the complaint did not
separately state a procedural due process claim, and the parties’ supplemental briefing did not
invoke due process. On appeal, neither party defends the district court’s analysis in its order
granting the permanent injunction. The State disputes the merits of the procedural due process
claim, and Plaintiffs insist their claim is founded only on First Amendment law. Because
Plaintiffs did not raise a procedural due process argument below, and did not address it in their
appellate briefing, we would ordinarily deem the issue waived. See Watson v. Cartee, 817 F.3d
299, 302 (6th Cir. 2016). However, we may affirm a district court’s injunction order for any
reason supported by the record.        McGirr v. Rehme, 891 F.3d 603, 610 (6th Cir. 2018).
Accordingly, we will evaluate Plaintiffs’ claim under both the First Amendment and procedural
due process.

                                                  II.

       “[A] party is entitled to a permanent injunction if it can establish that it suffered a
constitutional violation and will suffer ‘continuing irreparable injury’ for which there is no
adequate remedy at law.” Am. Civil Liberties Union of Ky. v. McCreary County, 607 F.3d 439,
445 (6th Cir. 2010) (quoting Women’s Med. Prof’l Corp. v. Baird, 438 F.3d 595, 602 (6th Cir.
2006)). When evaluating a district court’s grant of a permanent injunction, we review factual
                                                                                                          (9 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                               Page 7


findings for clear error, legal conclusions de novo, and the scope of injunctive relief for abuse of
discretion. Id. The parties do not dispute the underlying facts; the only issue is whether
Plaintiffs suffered a violation of their First Amendment rights.

                                                 III.

                                                  A.

       Plaintiffs urge us to view the ballot-initiative statutes as imposing a prior restraint on
political speech. “A prior restraint is any law ‘forbidding certain communications when issued
in advance of the time that such communications are to occur.’” McGlone v. Bell, 681 F.3d 718,
733 (6th Cir. 2012) (quoting Alexander v. United States, 509 U.S. 544, 550 (1993)). “Prior
restraints are presumptively invalid because of the risk of censorship associated with the vesting
of unbridled discretion in government officials and the risk of indefinitely suppressing
permissible speech when a licensing law fails to provide for the prompt issuance of a license.”
Bronco’s Entm’t, Ltd. v. Charter Twp. of Van Buren, 421 F.3d 440, 444 (6th Cir. 2005) (citation
and internal quotation marks omitted). In Freedman v. Maryland, the Supreme Court articulated
three procedural safeguards necessary for a system of prior restraint to survive constitutional
challenge. 380 U.S. at 57–59.

       First, the decision whether or not to grant a license must be made within a
       specified, brief period, and the status quo must be preserved pending a final
       judicial determination on the merits. Second, the licensing scheme must also
       assure a prompt judicial decision, to minimize the deterrent effect of an interim
       and possibly erroneous denial of a license. Third, the licensing scheme must
       place the burden of instituting judicial proceedings and proving that expression is
       unprotected on the licensor rather than the exhibitor.

Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville, 274 F.3d 377, 400 (6th Cir. 2001)
(discussing Freedman, 380 U.S. at 57–59) (internal citations and quotation marks omitted).
Plaintiffs assert that because the ballot-initiative statutes delegate authority to boards of elections
to review proposed initiatives prior to the election, the statutes amount to a prior restraint, and,
consistent with Freedman, Ohio must provide de novo judicial review of a board’s decisions.

       We conclude, however, that the ballot-initiative process here is not a prior restraint. The
fundamental objection to systems of prior restraint is that they create a risk of government
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 No. 19-3196                          Schmitt, et al. v. LaRose                              Page 8


censorship of expressive activity. See, e.g., City of Lakewood v. Plain Dealer Publ’g Co., 486
U.S. 750, 757 (1988) (“At the root of this long line of precedent is the time-tested knowledge
that in the area of free expression a licensing statute placing unbridled discretion in the hands of
a government official or agency constitutes a prior restraint and may result in censorship.”)
Accordingly, prior-restraint challenges typically emerge from licensing schemes that directly
target core expressive conduct and “authorize a licensor to pass judgment on the content of
speech.” Thomas v. Chicago Park Dist., 534 U.S. 316, 322 (2002). See City of Lakewood, 486
U.S. at 750 (permit required for placement of newspaper racks on public property); McGlone,
681 F.3d at 718 (advance-notice requirement for obtaining permission to speak on campus); Deja
Vu, 274 F.3d at 377 (licensing scheme for nude dance clubs); Freedman, 380 U.S. at 61
(censorship of obscene films). Ohio’s ballot-initiative laws, in contrast, do not directly restrict
core expressive conduct; rather, the laws regulate the process by which initiative legislation is
put before the electorate, which has, at most, a second-order effect on protected speech. In other
words, the statutes enable boards of election to make “structural decisions” that “inevitably
affect[]—at least to some degree—the individual’s right to speak about political issues and to
associate with others for political ends.” John Doe No. 1 v. Reed, 561 U.S. 186, 212 (2010)
(Sotomayor, J., concurring) (quoting Anderson, 460 U.S. at 788) (internal quotation marks
omitted). Regulations like these are “a step removed from the communicative aspect” of core
political speech, and therefore do not involve the same risk of censorship inherent in prior-
restraint cases. Id. at 212–13 (citation omitted).

       Moreover, although the Supreme Court has acknowledged that a person or party may
express beliefs or ideas through a ballot, it has also stated that “[b]allots serve primarily to elect
candidates, not as forums for political expression.” Timmons v. Twin Cities Area New Party, 520
U.S. 351, 363 (1997) (citing Burdick, 504 U.S. at 438). As a result, the heightened procedural
requirements imposed on systems of prior restraint under Freedman are inappropriate in the
context of ballot-initiative preclearance regulations. See also Aey v. Mahoning Cty. Bd. of
Elections, 2008 WL 554700, at *6 (N.D. Ohio Feb. 26, 2008) (“Plaintiff fails to cite any
authority in support of the proposition that prior restraint licensing analysis should be applied to
a ballot access statute.”); Comm. to Impose Term Limits on the Ohio Supreme Court & to
Preclude Special Legal Status for Members & Emps. of the Ohio Gen. Assembly v. Ohio Ballot
                                                                                                         (11 of 29)


 No. 19-3196                            Schmitt, et al. v. LaRose                            Page 9


Bd., 275 F. Supp. 3d 849, 861 (S.D. Ohio 2017) (holding that another aspect of Ohio’s ballot
initiative process, the “single subject rule,” is not a prior restraint).

                                                    B.

        Instead, we generally evaluate First Amendment challenges to state election regulations
under the three-step Anderson-Burdick framework, in which we “weigh the character and
magnitude of the burden the State’s rule imposes on [Plaintiffs’ First Amendment] rights against
the interests the State contends justify that burden, and consider the extent to which the State’s
concerns make the burden necessary.”            Timmons, 520 U.S. at 358 (citations and internal
quotation marks omitted).       The first, most critical step is to consider the severity of the
restriction. Laws imposing “severe burdens on plaintiffs’ rights” are subject to strict scrutiny,
but “lesser burdens . . . trigger less exacting review, and a State’s important regulatory interests
will usually be enough to justify reasonable, nondiscriminatory restrictions.” Id. (citations and
internal quotation marks omitted).        Regulations that fall in the middle “warrant a flexible
analysis that weighs the state’s interests and chosen means of pursuing them against the burden
of the restriction.” Libertarian Party of Ky. v. Grimes, 835 F.3d 570, 574 (6th Cir. 2016)
(citation and internal quotation marks omitted). At the second step, we identify and evaluate the
state’s interests in and justifications for the regulation. Id. The third step requires that we
“assess the legitimacy and strength of those interests” and determine whether the restrictions are
constitutional. Id.

        We first examine whether the burden imposed by the Ohio ballot-initiative statutes is
“severe.” Timmons, 520 U.S. at 358. “The hallmark of a severe burden is exclusion or virtual
exclusion from the ballot.” Grimes, 835 F.3d at 574. Plaintiffs claim an injury from the lack of
de novo review of the decisions of boards of elections; by requiring aggrieved petitioners to seek
a writ of mandamus, argue Plaintiffs, the Ohio ballot-initiative process unduly hampers their
right to political expression. We disagree.

        We begin by making clear that Plaintiffs have never challenged the legitimacy of the
legislative-administrative distinction or the state’s right to vest in county boards of elections the
authority to apply that distinction. Instead, Plaintiffs assert, and the district court found, a right
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 No. 19-3196                          Schmitt, et al. v. LaRose                              Page 10


to de novo review of a board’s decision.           However, outside the context of Freedman’s
requirements for a prior restraint, Plaintiffs have not identified the source of such a right.

       But even accepting Plaintiffs’ argument that the First Amendment requires de novo
review of a board’s decision, the Ohio case law suggests that petitioners receive essentially that.
The Ohio Supreme Court’s evaluation of the decisions of boards of elections shows no particular
deference to the boards’ decisions. And, although the standard for showing entitlement to
mandamus is recited as “fraud or corruption, abuse of discretion, or clear disregard of the law,”
Plaintiffs have identified no case in which the Ohio Supreme Court questioned the legal
determination of a board of elections but nevertheless deferred to its discretion. Rather, the cases
show that notwithstanding the stated standard of review, the court considers the proposed
initiative and makes an independent reasoned determination whether it is within the Ohio
Constitution’s grant of legislative authority. See State ex rel. Langhenry v. Britt, 87 N.E.3d 1216
(Ohio 2017) (proposed referendum financing bonds for refurbishment of arena is legislative
because it “represents the adoption of a new policy and a new undertaking”); State ex rel.
Sensible Norwood v. Hamilton Cty. Bd. of Elections, 69 N.E.3d 696, 179–80 (Ohio 2016)
(initiative making marijuana possession a fifth-degree felony is not within legislative authority);
Ebersole, 20 N.E.3d at 684 (initiative approving land development is administrative because it
“complied with the preexisting requirements for the Downtown Business District . . . and did not
require any zoning changes”).

       Indeed, at least one justice of the Ohio Supreme Court has questioned whether the
standard of review for ballot-initiative challenges is actually closer to de novo. State ex rel.
Khumprakob v. Mahoning Cty. Bd. of Elections, 109 N.E.3d 1184, 1192 (Ohio 2018) (Fisher, J.,
concurring in judgment) (explaining that although the court purports to follow an abuse-of-
discretion standard, “we have also stated that we need accord no deference to a board of
elections’ interpretation of state election law” (quotation omitted)).        If there is any actual
distance between the de novo standard of review Plaintiffs demand and the mandamus review
provided by the Ohio Supreme Court, it is hardly significant enough to result in “virtual
exclusion” from the ballot. We also note that because Ohio Supreme Court rules provide for
expedited briefing and decision in election cases, aggrieved citizens who challenge an adverse
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 No. 19-3196                                 Schmitt, et al. v. LaRose                                        Page 11


decision are able to seek timely redress. The ballot-initiative statutes are thus not subject to strict
scrutiny based on a severe burden.3 Timmons, 520 U.S. at 358.

         Having determined that the restriction imposed by the ballot-initiative process is not
severe and does not trigger strict scrutiny, we also conclude that the burden is not so minimal as
to warrant rational-basis review. A burden is minimal when it “in no way” limits access to the
ballot. Grimes, 835 F.3d at 577. Here, however, boards of elections wield the discretionary
authority to decline to certify initiatives, and the burden thus falls on the aggrieved proponent to
obtain mandamus relief in order to vindicate his or her interest. It is reasonable to conclude that
the cost of obtaining legal counsel and seeking a writ of mandamus disincentivizes some ballot
proponents from seeking to overturn the board’s decision, thereby limiting ballot access. As a
result, the burden imposed by the Ohio ballot-initiative process is somewhere between minimal
and severe, and we engage in a flexible analysis in which we weigh the “burden of the
restriction” against the “state’s interests and chosen means of pursuing them.”                             Id. at 574
(citations omitted).

         At the second step of Anderson-Burdick we consider the State’s justifications for the
restrictions. Id. The Supreme Court has explained that, in structuring elections, “States may,
and inevitably must, enact reasonable regulations of parties, elections, and ballots to reduce

         3Plaintiffs also attempt to invoke strict scrutiny on the ground that the ballot-initiative statutes are content-
based restrictions. But Plaintiffs have made clear in the district court and on appeal that they “do not challenge
Ohio’s ability to limit the subject matter of its initiatives.” (R. 19, PID 136.) Instead, the focus of Plaintiffs’
challenge is the asserted inadequacy of the review afforded to the boards’ discretionary judgments. This aspect of
the ballot-initiative statutes is plainly content-neutral. Moreover, the mere fact that the legislative-administrative
distinction is directed to the content of an initiative does not necessarily make it content based such that it triggers
strict scrutiny. Cf. Committee to Impose Term Limits on the Ohio Supreme Court & to Preclude Special Legal
Status for Members & Emps. of the Ohio Gen. Assembly v. Ohio Ballot Bd., 885 F.3d 443, 447 (6th Cir. 2018). The
rule applies without regard to the subject matter or viewpoint of the initiative.
          Further, the main case Plaintiffs rely upon in discussing whether the ballot-initiative statutes are content-
based is largely inapposite. Plaintiffs rely primarily on the Supreme Court’s recent decision in Minnesota Voters
Alliance v. Mansky, 138 S. Ct. 1876 (2018). In that case, the Court held that Minnesota’s ban on wearing political
apparel at polling places on election day violated the First Amendment. Id. at 1892. However, the Court was not
concerned with whether the ban was content-based. Rather, the Court was concerned with “[t]he discretion election
judges exercise[d] in enforcing the ban” given the lack of “objective workable standards” for what constituted
political apparel. Id. at 1891. Mansky thus does not explain whether Plaintiffs’ challenge targets a content-based
restriction. And in any event, Mansky involved a restriction on core political speech, in which “the whole point of
the exercise [was] to prohibit the expression of political views.” Id. at 1891. As noted earlier, this case does not
involve core expressive conduct; “the whole point of the exercise” is preventing the overcrowding of ballots. Id.
Mansky’s salience is questionable in this context.
                                                                                                         (14 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                               Page 12


election- and campaign-related disorder.” Timmons, 520 U.S. at 358; see also John Doe No. 1,
561 U.S. at 186 (“The State’s interest in preserving the integrity of the electoral process is
undoubtedly important.”); Buckley v. Am. Constitutional Law Found., 525 U.S. 182, 191 (1999)
(“States allowing ballot initiatives have considerable leeway to protect the integrity and
reliability of the initiative process.”) We have previously stated that states have a strong interest
in “ensuring that its elections are run fairly and honestly,” as well as in “maintaining the integrity
of its initiative process.” Taxpayers United for Assessment Cuts v. Austin, 994 F.2d 291, 297
(6th Cir. 1993). Further, a state may legitimately “avoid[] overcrowded ballots” and “protect the
integrity of its political processes from frivolous or fraudulent candidacies.” Jolivette v. Husted,
694 F.3d 760, 769 (6th Cir. 2012) (quoting Bullock v. Carter, 405 U.S. 135, 145 (1972)). Here,
Ohio’s interest is in “ensur[ing] that only ballot-eligible initiatives go to the voters” because
“[k]eeping unauthorized issues off the ballot reduces the odds that an initiative is later held
invalid on the ground that the voters exceeded their authority to enact it.” (Appellant Br. at 49.)
Ohio also contends it has an interest in maintaining voter confidence in the electoral process.
Plaintiffs do not dispute these interests, and we find that they are legitimate and substantial.

       At the third step of Anderson-Burdick we assess whether the State’s restrictions are
constitutionally valid given the strength of its proffered interests. Again, Plaintiffs do not contest
that Ohio’s interests in avoiding ballot overcrowding and safeguarding the integrity of the
initiative process justify the administrative-legislative distinction and do not argue that the board-
of-elections certification process is otherwise unconstitutional.       Rather, they challenge the
adequacy of the judicial review of such decisions. As explained above, however, because the
Ohio Supreme Court recognizes a proponent’s right to seek mandamus review of a board of
elections’ decision not to place an initiative on the ballot and the court performs what is
essentially a de novo review of the legal issue whether an initiative is within the municipality’s
initiative power, the absence of a statutory de novo appeal of right does not impose a significant
or unjustified burden on initiative proponents’ First Amendment rights. Although the State’s
chosen method for screening ballot initiatives may not be the least restrictive means available, it
is not unreasonable given the significance of the interests it has in regulating elections.

       Plaintiffs’ First Amendment challenge thus fails.
                                                                                                          (15 of 29)


 No. 19-3196                           Schmitt, et al. v. LaRose                             Page 13


                                                 IV.

       We next evaluate whether the ballot-initiative statutes violate procedural due process.
The Fourteenth Amendment provides, in part, that no state shall “deprive any person of life,
liberty, or property, without due process of law.” U.S. Const. amend. XIV § 1. To establish a
claim of procedural due process, a plaintiff must show that (1) he or she had a life, liberty, or
property interest protected by the Due Process Clause; (2) he or she was deprived of this
protected interest; and (3) the state did not afford adequate procedural rights. Daily Servs., LLC
v. Valentino, 756 F.3d 893, 904 (6th Cir. 2014) (citation omitted).

       As noted, Plaintiffs did not raise a procedural due process claim below. Nevertheless, the
district court concluded that Plaintiffs had a protected “right to participate in Ohio’s initiative
process with . . . adequate review in the courts of Ohio.” (R. 37, PID 291.) According to the
district court, this liberty interest derives from state law; the district court reasoned that because
Ohio established a ballot-initiative process, it is constitutionally bound not to “restrict the process
in any manner” that would violate due process. (Id. at PID 290 (citing Taxpayers United,
994 F.2d at 295).)

       We need not decide whether Ohio has created a constitutionally protected liberty interest,
however, because it is clear that the State affords aggrieved ballot-initiative proponents adequate
procedural rights through the availability of mandamus relief in the state courts. This court has
previously found that state mandamus is a satisfactory post-deprivation remedy for the purposes
of procedural due process. See Kahles v. City of Cincinnati, 704 F. App’x 501, 507 (6th Cir.
2017) (“[P]laintiffs were able to seek a writ of mandamus in the state-court system to challenge
any alleged abuse of discretion on the part of the City’s medical director. . . . The plaintiffs thus
received the process to which they were due.”); Martinez v. City of Cleveland, 700 F. App’x 521,
522–23 (6th Cir. 2017) (“Because Martinez had [state mandamus relief] available to him, no
due-process violation occurred.”). And although the district court held that only de novo review
will suffice, due process does not mandate any particular standard of review. See Miller v.
Francis, 269 F.3d 609, 621 (6th Cir. 2001) (“Miller does not cite, nor are we aware of, any
Supreme Court precedent vesting him with a procedural due process right to a particular standard
of appellate review in the state courts.”).
                                                                                                  (16 of 29)


 No. 19-3196                       Schmitt, et al. v. LaRose                          Page 14


       Plaintiffs therefore cannot state a procedural due process claim, and the district court
erred in concluding otherwise.

                                              V.

       For the reasons stated above, we REVERSE the district court’s order and VACATE the
permanent injunction.
                                                                                                                          (17 of 29)


 No. 19-3196                                Schmitt, et al. v. LaRose                                      Page 15


                   _____________________________________________________

                       CONCURRING IN PART AND IN THE JUDGMENT
                   _____________________________________________________

         JOHN K. BUSH, Circuit Judge, concurring in part and concurring in the judgment.
I agree with the Majority that the Ohio legislative authority statutes1 do not violate either the
First Amendment as incorporated by the Fourteenth Amendment or the Due Process Clause of
the Fourteenth Amendment. I join Parts I, II, and IV of the majority opinion, but, as explained
below, my reasoning differs from the remainder of the Majority’s analysis. It is arguable that
Ohio’s legislative authority statutes do not regulate “speech” within the meaning of the First
Amendment at all because they concern only election mechanics. But even assuming that state-
referendum laws regulate First Amendment speech, regulations of the nature at issue here do not
warrant heightened scrutiny under that constitutional provision. States are free to fashion rules
of election mechanics that are content-neutral and do not discriminate against any particular
point of view, including rules that affect the types of matters that may be subject to popular
initiatives, without running afoul of the First Amendment.

                                                          A.

         To understand why the First Amendment either is not implicated at all or, if it is, imposes
no heightened scrutiny here, we should bear in mind what the Ohio legislative authority statutes
do and do not regulate. Cf. John Doe No. 1 v. Reed, 561 U.S. 186, 212 (2010) (Sotomayor, J.,
concurring) (“In assessing the countervailing interests at stake in this case, we must be mindful
of the character of initiatives and referenda. These mechanisms of direct democracy are not
compelled by the Federal Constitution. It is instead up to the people of each State, acting in their
sovereign capacity, to decide whether and how to permit legislation by popular action.”). First,
these statutes do not regulate a citizen’s ability to advocate for a proposed initiative or regulate
any speech surrounding the issue on the ballot. Second, these statutes only address proposed


         1I refer to the Ohio statutes at issue, O.R.C. §§ 3501.11(K)(1)–(2), 3501.38(M)(1)(a), 3501.39(A), by using
the Ohio Secretary of State’s nomenclature: “Ohio’s legislative authority statutes.” Also, given the function these
statutes serve to ensure that a proposed initiative “falls within the scope of authority to enact via initiative,” Ohio
Revised Code § 3501.11(K)(2), I sometimes refer to these statutes as the “gatekeeper” provisions.
                                                                                                         (18 of 29)


 No. 19-3196                           Schmitt, et al. v. LaRose                            Page 16


initiatives. They do not regulate an individual’s ability to appear on the ballot as a candidate for
any position (as would a ballot-access provision).

        As such, I would characterize these gatekeeper provisions as laws regulating election
mechanics. That is, these statutes ensure that certain eligibility requirements are met before an
initiative is formally certified for the ballot and voted on by the people. The eligibility regulation
at issue in this case is a requirement that an initiative pertain to only “legislative action,” not
“administrative action.” State ex rel. Ebersole v. Del. Cty. Bd. of Elections, 20 N.E.3d 678, 684
(Ohio 2014) (per curiam). This requirement, in turn, implements separation-of-powers principles
under Ohio state constitutional law by ensuring that laws passed through popular initiatives are
only legislative, as opposed to administrative, in nature. See Ohio Const. art. II, § 1f (“The
initiative and referendum powers are hereby reserved to the people of each municipality on all
questions which such municipalities may now or hereafter be authorized by law to control by
legislative action . . . .”); State ex rel. Walker v. Husted, 43 N.E.3d 419, 423 (Ohio 2015) (per
curiam) (“Election officials serve as gatekeepers, to ensure that only those measures that actually
constitute initiatives or referenda are placed on the ballot. For example, the right of referendum
does not exist with respect to a measure approved by a city counsel acting in an administrative,
rather than legislative, capacity.” (citation omitted)).

                                                  B.

        The Supreme Court has not addressed the precise scope of the First Amendment interests,
if any, that are implicated by laws that regulate only the mechanics of the initiative process. The
closest Supreme Court precedent is Meyer v. Grant, 486 U.S. 414 (1988), which found a First
Amendment violation when a Colorado statute criminalized the compensation of petition
circulators for gathering citizens’ signatures for ballot initiatives. Id. at 415–16. The Colorado
law limited “the number of voices who will convey” the message and also the initiative
supporters’ “ability to make the matter the focus of statewide discussion.” Id. at 422–23. But
Meyer is not completely on all fours with the facts in our case. The Colorado statute in Meyer
targeted Coloradans’ ability to advocate for initiative petitions, which amounted to regulation of
political speech. The Ohio legislative authority statutes affect no such regulation.
                                                                                                        (19 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                            Page 17


       Furthermore, the Court’s precedents in Anderson v. Celebrezze, 460 U.S. 780 (1983), and
Burdick v. Takushi, 504 U.S. 428 (1992), though concerning election regulation, similarly do not
address the key question raised in this case: is the First Amendment impinged upon by statutes
regulating the election mechanics concerning initiative petitions? In those cases, the Court
reviewed challenges to State laws that sought to limit a candidate’s ability to appear on the ballot
or otherwise limited a voter’s ability to “write-in” candidates. See Anderson, 460 U.S. at 793–
95, 805–06 (holding that Ohio statute requiring independent candidates to file statements of
candidacy by March to appear on November ballot was unconstitutional); Burdick, 504 U.S. at
441–42 (holding that Hawaii’s prohibition on write-in voting did not violate the challengers’
freedoms of expression and association).         Indeed, this circuit has generally limited the
application of Anderson and Burdick to freedom-of-association challenges to ballot access
laws—i.e., laws that burden candidates from appearing on the ballot. See Libertarian Party of
Ohio v. Blackwell, 462 F.3d 579, 586 (6th Cir. 2006) (“The first step under the Anderson/Burdick
framework is to determine whether this burden on the associational rights of political parties is
‘severe.’” (footnote omitted)); see also Libertarian Party of Ky. v. Grimes, 835 F.3d 570, 572–
73, 574 (6th Cir. 2016); Green Party of Tenn. v. Hargetti, 767 F.3d 533, 545 (6th Cir. 2014); cf.
Ohio Council 8 Am. Fed’n of State v. Husted, 814 F.3d 329, 334 (6th Cir. 2016).

       Here, by contrast, Appellees are not asserting that the Ohio legislative authority statutes
violate their freedom-of-association rights or their right to vote. The Ohio laws at issue concern
the regulation of the initiative petition—i.e., the process through which the people act in their
sovereign capacity to legislate directly. Thus, we should look to authorities that address the
State’s ability to regulate its initiative process and ensure that all requirements are met before an
initiative is certified for the ballot. This brings us to the most relevant case from our circuit,
Taxpayers United for Assessment Cuts v. Austin, 994 F.2d 291 (6th Cir. 1993).

       In Taxpayers United, this court reviewed a Michigan statute requiring that each initiative
petition have a certain number of valid signatures from registered voters before the initiative
could appear on the ballot. 994 F.2d at 293. The challengers of that statute argued that “they
had been denied their right to vote and their rights to assemble and to engage in political speech,”
after the Michigan Board reviewed the challengers’ initiative petition and concluded that the
                                                                                                         (20 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                             Page 18


challengers failed to obtain the requisite number of signatures. Id. at 294. This court held that
the challengers’ First Amendment free speech rights and political association rights were not
“impinged” by the statute. Id. at 297. The Taxpayers United court reasoned that “[b]ecause the
right to initiate legislation is a wholly state-created right, we believe that the state may
constitutionally place nondiscriminatory, content-neutral limitations on the plaintiff’s ability to
initiate legislation.” Id. at 297.

        Our court noted that, “although the Constitution does not require a state to create an
initiative procedure, if it creates such a procedure, the state cannot place restrictions on its use
that violate the federal Constitution.” Id. at 295; see also Meyer, 486 U.S. at 424. But, because
Michigan’s regulation did not regulate the challengers’ speech on the basis of content, we
determined that “it is constitutionally permissible for Michigan to condition the use of its
initiative procedure on compliance with content-neutral, nondiscriminatory regulations that
are . . . reasonably related to the purpose of administering an honest and fair initiative
procedure.” Taxpayers United, 994 F.2d at 297. In short, the Michigan statute did not trigger
heightened scrutiny under the First Amendment and survived rational-basis review. See id.

        In reaching this conclusion, the Taxpayers United court made a critical observation about
the Michigan statute—that it did “not restrict the means that the plaintiffs can use to advocate
their proposal.” Id. Had Michigan’s statute been directed toward the challengers’ ability to
advocate for their initiative, the statute would have failed strict-scrutiny review under the
Supreme Court’s precedent in Meyer. See Taxpayers United, 994 F.2d at 295. As this court
explained, “the principle stated in Meyer is that a state that adopts an initiative procedure violates
the federal Constitution if it unduly restricts the First Amendment rights of its citizens who
support the initiative.” Id. But because the Michigan statute at issue in Taxpayers United dealt
“with methods used to validate and invalidate signatures of voters to an initiative petition,” that
law was not like the statute in Meyer, which “dealt with a limitation on communication with
voters.” Taxpayers United, 994 F.2d at 295. For its reasoning, this court did not address
whether the Michigan statute regulated First Amendment speech. See id. at 293–94, 296–97.
Instead, the court assumed that it did but nonetheless upheld the law under rational-basis review.
See id. at 296–97.      Thus, under Taxpayers United, statutes that, in a content-neutral and
                                                                                                        (21 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                            Page 19


non-discriminatory fashion, implement and ensure compliance with the eligibility requirements
for citizen initiative petitions are subject, at most, to only rational-basis review under the First
Amendment. See Buckley v. Am. Constitutional Law Found., Inc., 525 U.S. 182, 192 (1999)
(citing Taxpayers United favorably for its holding).

       Consistent with Taxpayers United, this court in Committee to Impose Term Limits on the
Ohio Supreme Court & to Preclude Special Legal Status for Members & Employees of the Ohio
General Assembly v. Ohio Ballot Board, 885 F.3d 443 (6th Cir. 2018) (hereinafter Ohio Ballot
Board) upheld the constitutionality of Ohio’s single-subject rule. Ohio Ballot Board, 885 F.3d at
446. Under that rule, an initiative petition may only contain “one proposed law or constitutional
amendment.”     Id. at 445.    The challengers asserted that the provision violated the First
Amendment because it was a content-based speech restriction. Id. at 446–47. Relying on Reed
v. Town of Gilbert, 135 S. Ct. 2218 (2015), the Ohio Ballot Board court concluded that “Ohio’s
single-subject rule is not content based,” because it “applies to all initiative petitions, no matter
the topic discussed or idea or message expressed.” Ohio Ballot Board, 885 F.3d at 447. Once
again, just as in Taxpayers United, this court did not address whether an election-mechanics law
regulated First Amendment speech. See Ohio Ballot Board, 885 F.3d at 445–46. Instead, the
court assumed the First Amendment was implicated and upheld the single-subject requirement
applying rational-basis review.

                                                  C.

       Taxpayers United and Ohio Ballot Board align with decisions of the majority of other
circuits that have addressed statutes relating to the regulation of election mechanics. These
circuits have similarly concluded that non-discriminatory referendum regulations are, at most,
subject to rational-basis review. See Molinari v. Bloomberg, 564 F.3d 587 (2d Cir. 2009)
(holding referendum statutes are only subject to rational-basis review); Initiative & Referendum
Inst. v. Walker, 450 F.3d 1082 (10th Cir. 2006) (en banc) (same); Marijuana Policy Project v.
United States, 304 F.3d 82 (D.C. Cir. 2002) (same); Dobrovolny v. Moore, 126 F.3d 1111 (8th
Cir. 1997) (same). But see Angle v. Miller, 673 F.3d 1122 (9th Cir. 2012) (holding referendum
regulations imposing subject-matter restrictions are subject to heightened scrutiny); Wirzburger
v. Galvin, 412 F.3d 271 (1st Cir. 2005) (same).
                                                                                                       (22 of 29)


 No. 19-3196                         Schmitt, et al. v. LaRose                             Page 20


       In Walker, the Tenth Circuit, sitting en banc, addressed a fundamental question that
Taxpayers United and Ohio Ballot Board did not answer: whether election-mechanics laws ever
regulate “speech” under the First Amendment.         The Tenth Circuit indicated that the First
Amendment may not be triggered by citizen-initiative regulations and, if it is, such regulations
are subject to only lower scrutiny. In Walker, the election-mechanics law at issue was a Utah
constitutional provision that imposed a requirement that any “legislation initiated to allow, limit,
or prohibit the taking of wildlife . . . shall be adopted upon approval of two-thirds of those
voting.” 450 F.3d at 1086 (quoting Utah Const. art. VI, § 1(2)(a)(ii)). The Tenth Circuit held
that the constitutional provision did not infringe upon the challengers’ First Amendment rights
because they were not implicated by laws of this nature. Id. at 1085. In reviewing whether the
Utah provision was subject to heightened scrutiny, the Walker court defined a key distinction
(just as this court did in Taxpayers United) between the types of election laws that were
constitutionally permissible and those that were not: “The distinction is between laws that
regulate or restrict the communicative conduct of persons advocating a position in a referendum,
which warrant strict scrutiny, and laws that determine the process by which legislation is
enacted, which do not.” Walker, 450 F.3d at 1099–1100.

       The Walker court reasoned that the First Amendment is not a vehicle for challenging
regulations of the process that must be followed for legislation or popular initiatives to be
enacted or adopted into law:

               Under the Plaintiffs’ theory, every structural feature of government that
       makes some political outcomes less likely than others—and thereby discourages
       some speakers from engaging in protected speech—violates the First Amendment.
       Constitutions and rules of procedure routinely make legislation, and thus
       advocacy, on certain subjects more difficult by requiring a supermajority vote to
       enact bills on certain subjects. Those who propose, for example, to impeach an
       official, override a veto, expel a member of the legislature, or ratify a treaty might
       have to convince two-thirds of the members of one or both houses to vote
       accordingly.      State constitutions attach supermajority requirements to a
       bewildering array of specific categories of legislation, [collecting specific
       examples]. These provisions presumably have the “inevitable effect” of reducing
       the total “quantum of speech” by discouraging advocates of nuclear power plants,
       general banking laws, or unauthorized state flags from bothering to seek
       legislation or initiatives embodying their views. Yet if it violates the First
       Amendment to remove certain issues from the vicissitudes of ordinary democratic
                                                                                                      (23 of 29)


 No. 19-3196                         Schmitt, et al. v. LaRose                           Page 21


       politics, constitutions themselves are unconstitutional. Indeed, the Plaintiffs’
       theory would have the ironic effect of rendering the relief they seek in this
       litigation unconstitutional under the First Amendment: if it is unconstitutional to
       amend the Utah constitution to require a supermajority to approve a wildlife
       initiative, those who favor such an amendment would be less likely to engage in
       advocacy in its favor.
              No doubt the Plaintiffs are sincere in their many sworn statements that
       they find the heightened threshold for wildlife initiatives dispiriting, and feel
       “marginalized” or “silenced” in the wake of Proposition 5. Their constitutional
       claim begins, however, from a basic misunderstanding. The First Amendment
       ensures that all points of view may be heard; it does not ensure that all points of
       view are equally likely to prevail.

450 F.3d at 1100–01. Based on this reasoning, the Tenth Circuit upheld the election-mechanics
provision at issue even though, on its face, the law concerned subject-matter limitations relating
to the referendum process. See id. at 1103. The Tenth Circuit indicated that the election-
mechanics provision did not fall within the purview of the First Amendment because it did not
regulate speech within the meaning of that constitutional guarantee. See id. at 1101, 1103; see
also Molinari, 564 F.3d at 600–01 (“[P]laintiffs here claim that their First Amendment rights are
chilled because New York State law puts referenda and City Council legislation on equal
footing, permitting the latter to supersede the former (and vice versa). As such, like in [Walker,]
there is no restriction on plaintiffs’ speech.”). The Tenth Circuit held that rational-basis review
was the highest level of constitutional scrutiny that was warranted and upheld the Utah
constitutional provision on this basis. See Walker, 450 F.3d at 1104–05.

                                                D.

       In reaching its holding, the Tenth Circuit rejected the reasoning of the First Circuit in
Wirzburger, which recognized that an individual’s First Amendment rights could be
impermissibly burdened by a statute placing subject-matter limitations on popular initiatives.
See 412 F.3d at 278–79. In Wirzburger, the First Circuit reviewed a challenge to provisions of
the Massachusetts constitution that prohibited initiatives on two subjects: those calling for
“public financial support for private primary or secondary schools,” and those “relate[d] to
religion, religious practices or religious institutions.” Id. at 274–75 (quoting Mass. Const. art.
18; id. art. 48, pt. 2, § 2). The Wirzburger court declined to apply strict scrutiny because the
                                                                                                                         (24 of 29)


 No. 19-3196                                Schmitt, et al. v. LaRose                                      Page 22


constitutional provision governing the initiative process was not “a direct restriction on the
communicative aspect of the political process.” Id. at 277. The First Circuit observed that even
though the subject-matter exclusions “aim at preventing the act of generating laws and
constitutional amendments about certain subjects by initiative,” the speech restriction caused by
the state constitution “is no more than an unintended side-effect.” Id. The Wirzburger court,
however, declined to apply the lowest level of scrutiny, instead applying intermediate scrutiny
pursuant to United States v. O’Brien, 391 U.S. 367 (1968), because the regulation bore on the
initiative process, which “manifest[ed] elements of protected expression.” See Wirzburger,
412 F.3d at 278.

         Applying the O’Brien test,2 the First Circuit concluded that Massachusetts had “a
substantial interest in maintaining the proper balance between promoting free exercise and
preventing state establishment of religion” and “in restricting the means by which these
fundamental rights can be changed.” Id. at 279. The First Circuit concluded that because “the
exclusions aim at preventing certain uses of the initiative process, not at stemming expression,”
the law did not concern the suppression of expression or speech. Id. Because the court could
“see no other way in which Massachusetts could achieve its interest in safeguarding these
fundamental freedoms in its Constitution from popular initiative,” it found that the “restriction on
speech is no more than is essential” and thus did not violate the First Amendment. Id.

         In Walker, however, the Tenth Circuit took issue with the First Circuit’s application of
heightened scrutiny in Wirzburger. First, the Tenth Circuit suggested that the First Amendment
was not even implicated by referendum regulations of the type at issue. See Walker, 450 F.3d at
1104. Additionally, the Walker court noted that it would be wholly inappropriate to strike down
an election-mechanics law under intermediate or strict scrutiny because it “would be an
especially egregious interference with the authority of ‘We the People’ to adopt constitutional
provisions governing the legislative or initiative process.” See id. at 1103. As the Tenth Circuit


         2Under O’Brien, a regulation must satisfy the following four elements to be constitutional: (1) the
regulation “is within the constitutional power of Government;” (2) “it furthers an important or governmental
interest;” (3) “the governmental interest is unrelated to the suppression of free expression;” and (4) “the incidental
restriction on alleged First Amendment freedoms is no greater than is essential to the furtherance of that interest.”
391 U.S. at 377.
                                                                                                        (25 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                            Page 23


reasoned, heightened scrutiny would be problematic, as it could imagine few tasks “less
appropriate for federal courts than deciding which state constitutional limitations serve
‘important governmental interests’ and which do not. . . . Under our form of government, the
people and their representatives, and not judges, assume the task of determining which subjects
should be insulated from democratic change.” Id.

                                                 E.

       I find the Walker court’s reasoning to be persuasive and another way to explain this
court’s holdings in Taxpayers United and Ohio Ballot Board. To be sure, our prior precedent did
not involve an election-mechanics regulation that concerned subject-matter limitations for
popular initiatives as in Walker. But, as Walker indicates, the First Amendment simply is not
implicated by structural requirements for the adoption of such laws, and this conclusion aligns
with our circuit’s prior holdings.

       I share the Tenth Circuit’s concern that we, as judges, are ill-suited to determine whether
or not a state advances an important governmental interest by limiting the subject-matter of its
initiative petitions. Here, the people of Ohio and their elected representatives, through their state
constitution and statutes, have determined that only “legislative actions” are within the municipal
power and thus, that the subject of any initiative must be a legislative, rather than an
administrative, matter. We are in no position to second-guess this rule. Just as the Tenth Circuit
feared to tread into whether Utah’s subject-matter limitations relating to the wildlife initiatives
served an important governmental interest, so too are we ill-suited to address the importance of
the state separation-of-powers principles implemented by Ohio through its legislative authority
requirement for popular referenda.

       Furthermore, this case is similar to Walker, Taxpayers United, and Ohio Ballot Board in
that there is no contention here that the election-mechanics regulation at issue discriminates
against any particular point of view. In Walker, the law imposed a two-thirds approval of voters
as to any law that pertained to the taking of wildlife, regardless of whether it was for or against
such practice.    See 450 F.3d at 1087.         Similarly, in Taxpayers United, there was no
discrimination against any viewpoint by the requirement of a requisite number of registered voter
                                                                                                                            (26 of 29)


 No. 19-3196                                 Schmitt, et al. v. LaRose                                       Page 24


signatures for an initiative to be placed on the ballot. See 994 F.2d at 297. And in Ohio Ballot
Board, the single-subject rule applied to all initiatives, regardless of their subject matter.
885 F.3d at 447–48.          Likewise, here, the legislative authority statutes apply equally to all
referenda, without regard to their subject matter.3

         Thus, based on the logic of Walker, I question whether that the election-mechanics
statutes at issue are even within the purview of the First Amendment. However, even assuming
that they are, these statutes are constitutional under the rational-basis review applied in
Taxpayers United and Ohio Ballot Board. Accordingly, there is no merit to Appellees’ assertion
that the legislative authority statutes are an unconstitutional prior restraint, given that Ohio either
is not restraining any constitutionally protected speech or that, if it is, the restraint is nonetheless
valid under rational-basis scrutiny. As I explain below, these provisions survive rational-basis
review because they are content-neutral and non-discriminatory.

                                                           F.

         Consistent with this court’s holding in Taxpayers United, the Ohio statutes satisfy
rational-basis review because they are “nondiscriminatory, content-neutral limitations on the
[Appellees’] ability to initiate legislation.” 994 F.2d at 297. Indeed, consonant with Supreme
Court precedent, the Ohio statutes at issue can be justified without reference to the content of the
regulation. In Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015), the Court explained that
“Government regulation of speech is content based if a law applies to particular speech because
of the topic discussed or the idea or message expressed.” “Statutes that are not content based on


          3In Angle, the Ninth Circuit also applied heightened scrutiny to a Nevada election-mechanics law, but one
that, unlike the Utah statute in Walker, did not pertain to a subject-matter restriction. See Angle, 673 F.3d at 1126–
27, 1133–34. The Ninth Circuit reviewed whether Nevada’s constitutional requirement that initiative proponents
“must obtain signatures from a number of registered votes equal to 10 percent of the votes cast in the previous
general election” in each congressional district to have the initiative placed on the ballot violated the First
Amendment. 673 F.3d at 1126. The Ninth Circuit rejected the plaintiffs’ assertion that the rule imposed a “severe
burden on communication between circulators and voters,” id. at 1133, but nonetheless applied intermediate scrutiny
to the Nevada law because it had the potential, though minimal, to “reduc[e] the total quantum of speech on a public
issue,” id. (alteration in original) (quoting Meyer, 486 U.S. at 423). The Ninth Circuit’s application of heightened
scrutiny to election-mechanics laws is inconsistent with the Sixth Circuit precedent discussed above. The Ninth
Circuit’s logic also is troubling because, as the Ohio Secretary of State notes, it would call into question “all subject
matter restrictions on what Congress or state legislatures may legislate about” because “such restrictions make it
harder for those subjects to become ‘the focus of’ national or ‘statewide discussion.’” Appellant Br. at 38–39
(quoting Angle, 673 F.3d at 1126).
                                                                                                         (27 of 29)


 No. 19-3196                          Schmitt, et al. v. LaRose                             Page 25


their face may still be considered content based if they ‘cannot be justified without reference to
the content of the regulated speech’ or ‘were adopted by the government because of
disagreement with the message the speech conveys.’” Ohio Ballot Board, 885 F.3d at 447
(quoting Reed, 135 S. Ct. at 2227).

       The Ohio legislative authority statutes easily clear this threshold because, by their very
terms, they apply to each petition submitted for review. See, e.g., O.R.C. § 3501.38(M)(1)(a)
(“Upon receiving an initiative petition . . . concerning a ballot issue that is to be submitted to the
electors of a county or municipal political subdivision, the board of elections shall examine the
petition to determine: Whether the petition falls within the scope of a municipal political
subdivision’s authority to enact via initiative . . . .”). Moreover, the laws can be justified without
reference to the content of the initiative petition, because, as explained by the Secretary, “[t]he
challenged portion of the [laws] channel ballot-access decisions to county boards and then
mandamus proceedings that ensure that the State can quickly and efficiently promote its
legitimate interests in screening out ineligible administrative actions and simplifying the ballot.”
Reply Br. at 24.

       It is true that the contents of the proposed initiative dictate its fate in one limited sense.
See O.R.C. §§ 3501.38(M)(1)(a), 3501.39. Under the statutes, if the reviewer, either the Board
of Elections or the Ohio Secretary of State, finds that the proposed initiative is outside the
municipal power or is an administrative matter, then the proposed initiative will not be certified.
By contrast, proposed initiatives that are within the municipal power and are legislative,
assuming all other conditions are met, are certified to appear on the ballot. But despite the
different treatment that proposed initiatives receive depending upon their legislative or
administrative nature, Ohio’s legislative authority statutes are nonetheless content-neutral for
purposes of the First Amendment because (1) their application does not depend on “the topic
discussed or the idea or message expressed,” (2) they can “be justified without reference to the
content of the regulated speech,” and (3) they were not “adopted . . . because of disagreement
with the message . . . convey[ed].” Reed, 135 S. Ct. at 2227; Ohio Ballot Board, 885 F.3d at
447. To put the point more concretely, based on the initiative that gave rise to this case, the Ohio
legislative authority statutes do not regulate on the topic of marijuana possession in particular or
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 No. 19-3196                          Schmitt, et al. v. LaRose                            Page 26


operate to restrict any viewpoint, idea, or message on that topic. Rather, they simply regulate the
manner in which any topic concerning any viewpoint, idea, or message may be presented to the
voters for approval via the initiative process. Such regulation, though it involves analysis of the
text of the initiative, is nonetheless content-neutral under the First Amendment. See Taxpayers
United, 994 F.2d at 295 (holding Michigan Board’s review of the contents of the petition
signatures to determine whether they were valid and from registered voters was content-neutral
and did not violate the First Amendment).

       In light of this conclusion, whether the Ohio legislative authority statutes survive review
turns on the neutral application of the statutes by the Board and the Secretary—that is, are they
applied in a discriminatory or non-discriminatory manner? Had Appellees presented evidence
that the Board of Elections treated their initiatives differently because of their position regarding
marijuana advocacy, then their claims might have had some merit. But, in the absence of
evidence that the legislative authority statutes were applied in a discriminatory manner, it follows
that the Board applied the gatekeeper provisions in a content-neutral and non-discriminatory way
and therefore in compliance with the First Amendment. Although the Board may make mistakes
in reviewing petitions and determine that otherwise certifiable initiatives are administrative (as
the Secretary acknowledged happened here, Oral Arg. at 38:02–07), that does not mean that
Ohio’s legislative statutes are discriminatory as to any point of view. Instead, it is a steadfast
reminder that humans make errors and likely is the reason why Ohio provides petitioners the
right to seek a writ of mandamus in the Ohio Supreme Court. And thus, Ohio’s legislative
authority statutes are nondiscriminatory.

       Because “it is constitutionally permissible for [Ohio] to condition the use of its initiative
procedure on compliance with content-neutral, nondiscriminatory regulations that are, as here,
reasonably related to the purpose of administering an honest and fair procedure,” the Appellees’
“First Amendment claim is without merit.” Taxpayers United, 994 F.2d at 297. For these
reasons, therefore, I concur in the judgment of the Majority that the Ohio legislative authority
statutes do not violate the First Amendment.
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                                 UNITED STATES COURT OF APPEALS
                                      FOR THE SIXTH CIRCUIT

                                            No. 19-3196


WILLIAM T. SCHMITT; CHAD THOMPSON;
DEBBIE BLEWITT,
       Plaintiffs - Appellees,
                                                                             FILED
                                                                         Aug 07, 2019
       v.                                                            DEBORAH S. HUNT, Clerk

FRANK LAROSE, Ohio Secretary of State,
       Defendant - Appellant.



                        Before: CLAY, WHITE, and BUSH, Circuit Judges.

                                        JUDGMENT
                           On Appeal from the United States District Court
                            for the Southern District of Ohio at Columbus.

      THIS CAUSE was heard on the record from the district court and was argued by counsel.

     IN CONSIDERATION THEREOF, it is ORDERED that the order of the district court is
REVERSED, and the permanent injunction is VACATED.

                                              ENTERED BY ORDER OF THE COURT




                                              Deborah S. Hunt, Clerk
